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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS                                         2O9
                                                                                      .JA.N   2
                                   SAN ANTONIO DIVISION                                            )tf   I
                                                                                                             ,'




 UNITED STATES OF AMERICA,                     §
                                               §
                Plaintiff,                     §
 VS.                                           §
                                               §      Ct. 1: 18 U.S.C. §922(g)(9)
 TONY DWAYNE ALBERT,                           §      Possession of a Firearm by a Person
                                               §      Convicted of Domestic Violence
                Defendant.                     §
                                               §
 THE GRAND JURY CHARGES:

                                          COUNT ONE
                                      (18 U.S.C. §922(g)(9)J

        On or about December 30, 2018, in the Western District of Texas,
                                                                         Defendant,

                                  TONY DWAYNE ALBERT,

who having been convicted of a misdemeanor crime of domestic violence, did knowingly
                                                                                     possess
in and affecting interstate commerce, ammunition and a firearm, to-wit: a Smith
                                                                                and Wesson,
model MP9, 9mm caliber pistol, serial number NAR1 186, which had been shipped and
                                                                                        transported
in interstate and foreign commerce, in violation of Title 18, United States Code,
                                                                                  Section 922(g)(9).



                                             A TRUE BJLL



                                             Fjrr1thuNUr I'HE GRAND JURY
JOHN F. BASH
UNITED STATES ATTORNEY


BY:

       Assistant United States Attorney
